Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 1 of 25

EXHIBIT A

 
 

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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 2 of 25

Timothy G. Tonkin, Esq. (#020709)
Montana Thompson, Esq. (#030567)
PHILLIPS LAW GROUP, P.C.
3101 N, Central Avenue, Suite 1500
Phoenix, Arizona 85012

Telephone: (602) 258-8900, ext. 258
Facsimile: (602) 900-0112

E-Mail: montanat(@phillipslaw.com
E-Mail: minute_entries@phillipslaw.com

Attorneys for Plaintiffs

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

IN AND FOR THE COUNTY OF MARICOPA

COREY LEASHORE, individually,
Plaintiff,
v.

USHIO AMERICA, INC, a foreign
corporation; CHRISTOPHER ATKINSON,
an individual; JOHN DOES 1-5; JANE DOES
1-5; BLACK CORPORATIONS 1-5; and
WHITE PARTNERSHIPS 1-5,

Defendants.

 

Case No.: CV2019-003020
FIRST AMENDED COMPLAINT

Tort — Motor Vehicle

Corey Leashore (hereinafter “Plaintiff’), for his Complaint, alleges:

1. Plaintiff is and was at all times material herein, a resident of the County of

Maricopa, State of Arizona.

2. Upon information and belief, Ushio America, Inc., is a foreign corporation that is

authorized to do business in Arizona or availed itself to Arizona jurisdiction by allowing one of

its employees to operate a motor vehicle in Arizona.

3, Upon information and belief, Christopher Atkinson was a California resident at

all material times herein.

 

 

 

 
 

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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 3 of 25

4, Defendants John and Jane Does 1-5, and Black Companies, White Partnerships
1-5 (hereinafter: “fictitious defendants”) are those persons and entities whose relationships to
the named Defendants or whose acts or omissions give rise to legal responsibility for the
damages incurred by Plaintiff, but whose true identities are at present time unknown to
Plaintiff. These persons and entities hereby are notified of Plaintiff’s intention to join them as
Defendants if and when additional investigation or discovery reveals the appropriateness of
such joinder,

5, Upon belief, all fictitious Defendants were residents of the County of Maricopa,
State of Arizona; and/or were organized and existing under the laws of Arizona and doing
business in the State of Arizona; and/or were foreign corporations, businesses, etc., qualified to
do business within the State of Arizona, and actually doing business therein on the date of the
accident alleged herein.

6. All acts and events alleged hereafter occurred within the County of Maricopa,
State of Arizona.

7. The minimum jurisdictional amount established for filing this action has been
satisfied, This Court has jurisdiction and venue is proper.

COUNT ONE: NEGLIGENCE

8.° Plaintiff re-alleges and incorporates all paragraphs above as if fully set forth
herein.

9. On March 6, 2018, Plaintiff was traveling westbound on State Route 101 near
milepost 26. At the same date and time, Defendant Christopher Atkinson was operating a Jeep
headed the same direction as Plaintiff, in the lane next to Plaintiff. Defendant Christopher
Atkinson attempted to change into the lane occupied by Plaintiff, without first ascertaining that
the movement could be done safely. Defendant Atkinson’s lane change caused Plaintiff's

vehicle to crash into the median.

 

 

 

 
 

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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 4 of 25

10. Upon information and belief, Defendant Christopher Atkinson was in the course

and scope of his employment with Defendant Ushio America, Inc. at the time of the crash.

 

11. As aresult of Defendant’s negligence, Plaintiff suffered injuries.
COUNT TWO: NEGLIGENCE PER SE
12. Plaintiff re-alleges and incorporates all paragraphs above as if fully set forth
herein.
13. ARS. § 28-729 is a statute enacted for the safety of others on the roadway.
14. Defendant Christopher Atkinson failed to first ascertain that a lane change could
be done safely in violation of A.R.S. § 28-729 and is negligent per se.

COUNT THREE: NEGLIGENT ENTRUSTMENT/HIRING/RETENTION

15. Plaintiff re-alleges and incorporates all paragraphs above as if fully set forth
herein.

16. Upon information and belief, at the time of the collision Defendant Christopher
Atkinson was acting as an agent, servant or employee within the scope of his employment on
behalf of Defendant Ushio America, Inc.

17. At the time of the collision, Defendant Ushio America, Inc., knew or should have
known that Defendant Christopher Atkinson was an inexperienced, reckless, and negligent
driver. Defendant Ushio America, Inc. should not have hired Defendant Christopher Atkinson
and/or should not have refained him and/or should have provided proper training and
supervision.

18. Defendant Ushio America, Inc. knew or should have known that allowing a
negligent, reckless and/or inexperienced driver increases the risk of harm to others on the

roadway. .

 

 
 

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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 5 of 25

19. Defendant Ushio America, Inc.’s negligent entrustment of its vehicle to
Defendant Christopher Atkinson and/or Defendant Ushio’s lack of training and/or supervision

is(are) a direct and proximate cause of damages alleged herein.

 

COUNT FOUR: VICARIOUS LIABILITY
20, Plaintiff re-alleges and incorporates the foregoing paragraphs as if fully set
forth herein.
21, At all times material herein, Defendant Christopher Atkinson operated a motor
vehicle while acting as an agent, servant, or employee within the scope of his employment on

behalf of Defendant Ushio America, Inc.

22, At all times material herein, Defendant Christopher Atkinson operated the
motor vehicle immediately prior to the crash and said actions were on behalf of, or in
furtherance of the business of Defendant Ushio America, Inc.

23, At all times material herein, Defendant Christopher Atkinson intended that his
conduct be perceived as and synonymous with Defendant Ushio America, Inc.

24, Defendant Ushio America, Inc. is vicariously liable to Plaintiff for all injuries
and other damages caused by Defendant Christopher Atkinson,

COUNT FIVE: RESPONDEAT SUPERIOR

25. Plaintiff re-alleges and incorporates the foregoing paragraphs as if fully set forth
herein,

26.  Atall times relevant hereto, Defendant Christopher Atkinson was employed by,
and was an agent, servant and/or employee of Defendant Ushio America, Inc,

27. The above described acts of Defendant Christopher Atkinson were committed
within the scope of his employment with Defendant Ushio America, Inc. in that they were
committed while on duty and in furtherance of his employment/employer Defendant Ushio

America, Inc.

 

 

 

 

 

 
 

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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 6 of 25

28. As Defendant Christopher Atkinson’s employer, Defendant Ushio America, Inc.
is responsible for all of the negligent acts committed by Defendant Christopher Atkinson

within the scope of his employment.

DAMAGES
29. Plaintiff re-alleges and incorporates all paragraphs above as if fully set forth
herein.
30. Asa direct and proximate result of the negligent, reckless, and careless conduct
of Defendants, Plaintiff suffered severe and permanent injuries which caused him pain,

suffering, distress, mental and emotional anguish and anxiety, and a general decrease in the
quality and enjoyment of life, all in an amount to be proven at trial.

31. Asa further direct and proximate result of the negligent, reckless, and careless
conduct of Defendants, Plaintiff has incurred expenses for medical care, and may incur
expenses for future medical care, a!l in an amount to be proven at trial.

32. Asa further direct and proximate result of the negligent, reckless, and careless
conduct of Defendants, Plaintiff has incurred expenses for property damage and for driving to
doctor appointments, and is entitled to compensation for his damaged property and for mileage
driven to doctor appointments, all in an amount to be proven at trial.

33. Asa direct and proximate result of the negligent, reckless, and careless conduct
of Defendants, Plaintiff has or may have suffered lost earnings and may suffer future lost
earnings and/or diminished earning capacity, all in an amount to be proven at trial,

WHEREFORE, Plaintiff prays for judgment against Defendants, and each other
defendant named herein jointly and severally, as follows:

(a} ‘For Plaintiff’s general and special damages;
(b) For Plaintiff's expenses incurred for past medical care and treatment of

Plaintiffs injuries for future medical treatment expenses;

 

 

 

 
 

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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 7 of 25

(c) For Plaintiff's expenses for property damage and for driving to doctor
appointments;

(d) For Plaintiff’s past and future lost wages and loss of earning capacity;

(e) For Plaintiff’s costs incurred herein;

(f) For interest at the highest legal rate on all damages and costs from the
time incurred on the date of such judgment, whichever is sooner, until!
paid; and

(g} For such other and further relief as the Court deems just and proper.

STATEMENT OR TIER VALUE
Consistent with the factors and characteristics identified in the lawsuit above, this
matter is an automobile tort, and pursuant to Rule 26.2(b) of the Arizona Rules of Civil
Procedure, the damages sought in this case qualify it as a Tier 3 case.

DATED this 3rd day of May, 2019.

PHULLIPS LAW GROUP, P.C.

By: /s/Montana Thompson
Timothy G. Tonkin, Esq.
Montana Thompson, Esq.
Attorneys for Plaintiff

 

Filed electronically this 3°! day of May
With Maricopa County Superior Court
And emailed to:

Adam Reich, Esq.

Lewis Roca Rothgerber Christie LLP
201 E Washington St. Suite 1200
Phoenix, AZ 85004

AReich@lrrc.com

By: /s/ Dora Alcala

 

 

 

 
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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 8 of 25

Timothy G. Tonkin (#020709)

Montana Thompson (#030567)
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Facsimile: (602) 900-0112

Email: timt@phillipslaw.com

Email: montanat@phillipslaw.com
Email: minute_entries@phillipslaw.com

Attorneys for Plaintiff
IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE MARICOPA COUNTY

CORE LEASHORE, Individually Case No. CV2019-003020
Plaintiff, NOTICE OF COMPLETION OF
SERVICE ON DEFENDANT USHIO
VS. AMERICA, INC
USHIO AMERICA, INC., a foreign (Assigned to the Honorable Connie Contes)

corporation; JOHN DOES 1-5; JANE DOES 1-
5: BLACK CORPORATIONS 1-5; and WHITE
PARTNERSHIPS 1-5,

Defendants.

 

 

Plaintiff, by and through undersigned counsel, hereby does certify that all parties
above-named have been served with the Summons, Complaint, Certificate of Compulsory
Arbitration and Civil Coversheet. (See Exhibit 1)

DATED this@2day of April, 2019.

PHILLIPS LAW GROUP, P.C.

By \\ me pins.

Timothy G. Tonkin, Esq.
Montana Thompson, Esq.
Attorneys for Plaintiff

 

 
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Case 2:19-cv-02912-SMB Document 1-3

ORIGINAL e-Filed
This 24 day of April, 2019 with/to:

Clerk of the Court

Maricopa County Superior Court
201 West Jefferson St.

Phoenix, AZ 85003

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By: b 7 A at 2

Pyora Aleala

Filed 05/07/19 Page 9 of 25

 
Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 10 of 25

 

CERTIRICATE OF SERVICE

 

Attorney:

Montana Thompson, Esq.
PHILLIPS LAW GROUP
3101 N. Central Ave.., #1500
Phoenix, Arizona 5012

(602) 258-8900

 

 

Plaintiff. Corey Leashore
Defendant: USHIO America, Inc., a foreign corporation, et al.
Case No.; CV2019-003020

 

For Court Use Only

 

 

« At the time of service I was at least 21 years of age and not a party to this action,

* Tserved copies of the: Complaint, Summons, Certificate of Compulsory Arbitration and Civil Coversheet

* Party Served: USHIO AMERICA, INC.

* Person Served: c/o CSC LAWYERS INCORPORATING SERVICE

e Address where party was served: 2710 Gateway Oaks Drive, Suite 150N, Sacramento, CA 95833

¢ served the party:

* By personal service: On APRIL 9, 2019 at 12:04 PM by leaving copies with or in the presetice of;

BECKY DEGEORGE, SERVICE ASSOCIATE

* Person of suitable age and diseretion, informed him or her of the general nature of the papers.

* Service: $67.00, Notary Fee: $25.00: Total: $92.50

* Person Executing:
* Randall Walton

* Sacramento CountyRegisitered Process Servver # 2015-13

 

 

 

 

 

 
Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 11 of 25 |

« Sure Serve Process Servers
8250 Calvine Road C331
Sacramento, CA 95828
(916) 996-4363

 —

Signature of Randall Walton

 

 

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far CA Nisan Public Ga) )
 

 

Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 12 of 25

 

 

 

 

 

CALIFORNIA ALL- PURPOSE
CERTIFICATE OF ACKNOWLEDGMENT

 

 

A notary public or other officer completing this certificate verifies only the identity
of the individual who signed the document to which this certificate is attached,
and not the truthfulness, accuracy, or validity of that document.

 

 

Stateof Ca] torn iA
County of A (i CYA mento

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who proved to me on the basis of satisfactory evidence to be the person(g) whose
name(s{(isfay subscribed to the within instrument and acknowledged to me that

e/sheAhey executed the same in

hertheir authorized capacity(ies}, and that by

his/heritteir signature(gj on the instrument the person(sj, or the entity upon behalf of
which the person(s) acted, executed the instrument.

| certify under PENALTY OF PERJURY under the laws of the State of California that
the foregoing paragraph is true and correct.

WITNESS my hand and official seal.

 

 
  
 

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(Notary Public Seal)

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INSTRUCTIONS FOR COMPLETING THIS FORM

ADDITIONAL OPTIONAL INF ORMATION This form complies with current California statules regarding notary wording and,

 

DESCRIPTION OF THE ATTACHED DOCUMENT
re OF

(Title or description of alfached document)

 

(Title or description of attached document continued)

Number of Pages “Z. Document patel OY _

 

 

 

CAPACITY CLAIMED BY THE SIGNER
O Individual (s)
O Corporate Officer

(Title)
[] Partner(s)
Ol Attorney-in-Fact
tO «Trustee(s)
«Other

 

 

 

 

 

ifneeded, should be completed and attached to ihe document. Acknowledgments
JSrom other states may be completed for documents being sent to that state so long
as the wording does not require the California notary to violate California notary
law.

e State and County information must be the State and County where the document
signer(s) personally appeared before the notary public for acknowledgment,

e Date of notarization must be the date that the signer(s) personally appeared which

must also be the same date the acknowledgment is completed.

The notary public must print his or her name as it appears within his or her

commission followed by a comma and then your title (notary public).

e Print the name(s) of document signer(s) who personally appear at the time of
notarization,

© Indicate the correct singular or plural forms by crossing off incorrect forms (i.e.
he/she/they,- is /are ) or circling the correct forms. Failure to correctly indicate this
information may lead to rejection of document recording.

e The notary seal impression must be clear and photographically reproducible.
Impression must not cover text or lines. If seal impression smudges, re-seal if a
sufficient area pennits, otherwise complete a different acknowledgment form,

e Signature of the notary public must match the signature on file with the office of
the county clerk.

“+ Additional information is not required but could help to ensure this
acknowledgment is not misused or attached to a different document.

“+ ‘Indicate title or type of attached document, number of pages and date.

% Indicate the capacity claimed by the signer. If the claimed capacity is a
corporate officer, indicate the title (ic. CEO, CFO, Secretary).

@ Securely attach this document to the signed document with a staple.

 

 

 

 

 

 

 

www. NotaryClasses.com 800-873-9865

 
Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 13 of 25

 

 

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In and For the Gounty of ((wweA | Jatarpreter Needed? [_] : Sui Cie _suuilez z
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(Please Type or Print)
Plaintiff's Attomey Viet ANA Thome S01
Attomey Bar Number O40 Su%
Plaintiff's Namats): (Liat all} Plaintiff's Addrass: Phone #: Emall Address;
Lovvy Ltashore Clo Prullies Law tamp (at) US8- £400

 

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(List additlona! Platnliffs on page two and/or atlach a separate sheet),

Defendant's Name(s}; (List All}

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indy Aub, down Dos 1-4 last Doss 1-44 Black. dorpacahtury 1-5)
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(List additional Defendants on page two and/or attach a separate sheal)

RULE 26.2 DISCOVERY TIER OR MONETARY RELIEF CLAIMED:
IMPORTANT: Any case category that has an asterisk ("} MUST have a dollar amount claimed
or Tier selected. State the monetary amount In controversy or place an “X" next to the discovery tier
to which the pleadings allege the case would belong under Rule 26.2.

 

[_] Amount Claimed § © []tera = E}tier2 [Xi tier

NATURE OF ACTION
Place an “X" next to the one case category that most accurately describes your primary case, Any
ease category that has an asterisk {*) MUST have a dollar amount claimed or Tier selected as
indicated above.

 

100 TORT MOTOR VEHIGLE: .

(hee Property Damage*
Tit 04 Non-Death/Personal infury*

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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 14 of 25

110 TORT NON-MOTOR VEHICLE;

 

hat Negligance*

[lite Product Liability — Asbastos*
[12 Product Liability ~ Tobacco"
[h12 Product Liability ~Toxte/Other*
[1143 intentional Tort*

[ita Properly Damage*

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[bas Malpractice — Other professional’
[117 Premises Liabllity*

T_|448 Slander/Libel/Defamation*

 

 

[}146 Other (Specify) ;
4120, MEDICAL MALPRAGTIGE:
[hai Physician M.D." [}123 Hospital

[122 Phystolan D.o* T]124 other*

130 & 197 CONTRACTS:

 

[has Account {Open or Stated)*

[hse Pronilssory Note*

[haga Foreclosure*

[hse Buyer-Plaintiff*

| |130 Fraud*

[184 Other Contract (Le. Breach of Contract)"

[}i38 Excess Proceads-Sale*

P| Construction Defects (Resktantlal/Commersial)*
Ch 36 Six to Nineteen Structures*
[har Twenty or More Struclures*

[haz Credit Card Debt (Maricopa County Only)”

460-199 OTHER GIVIL CASE TYPES:

 

1 hss Eminent Domala/Condemnation*

het Eviction Actions (Forcible and Special Detainers)*
[452 Change ofName ,

[isa Transcript of Judgment

[_|154 Foreign Judgment

@ Superior Gourt of Arizona In Maricopa County
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Page 2 of 3

Case No,

[}188 Quiet Title”

[}te0 Forfetture*

["}175 Election Chatlenge

[479 Noc-Employer Sanction Action (A.R.8, §23-212)
mt 40 Infunction against Workplace Harassment
["}i81 Injunction against Harassment

[hee Civil Penalty

[}186 Water Rights (Not General Strearn Adjudication)*
Ch 87 Real Property ‘

r] Spectal Actlon agains] Lower Courls
(Seo Lower Court Appeal cover sheet in Maricapa)

Ch 84 [mmigratlon Enforcement Challenge
(A.R.S, §§1-501, 1-502, 11-1057)

160-199 UNCLASSIFIED CIVIL: .

CJ Administrative Review
(See Lower Court Appeal cover aheel in Maricopa)

[|480 Tax Appeal
{All other fax matters must be flled In tha AZ Tax
Gourt)

[]y 66 Declaratory Judgment

Chis? Habeas Gorpus

[1184 Landiord Tenant Dispute - Other

[]190 Declaration of Factual Innocence (A.R.8, §12-774)
|; 91 Declaration of Factual Improper Party Status
[]s93 Vutnerable Adult (A.R.S, §46-454)*

rh 66 Tribal Judgment

(_}67 structured Sefllement (A.R.S, §12-2901)

[lt 69 Attorney Consarvatorships (State Bar}

(_}170 Unauthorized Praotlee of Law (Stale Bar)
C474 Out-of-State Deposttion for Foreign Jurisdiction
L172 Secure Attendance of Prisoner

L liza Assurance of Discontinuance

| }74 In-State Deposition for Foreign Jurisdiction
[_]i76 Eminent Domatn~ Light Rall Gnly*

[_]t77 interpleader~ Automobile Onty'

[__]178 Delayed Birth Corlificate (A.R.S. §36-333,03)
[}483 Employment Dispute- Disorlmiation*

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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 15 of 25

 

 

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Pesta) Amendment of Mariage Lieense
[hose Amendment of Blith Certificate

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| Temporary Reslraining Order [] Provisional Remady CI O86 [J Election Challange

[] Employer Sanciion ry Ofhar (Speclfy}

 

CONIMERCIAL COURT (Maricopa Gounty Only}

[i this oase [3 eligible for the Commercial Court under Rule 8.1, and Plaintiff requests assignment of this case to the
Commerolal Court. More information on tha Commercial Court, Including the most recent forma, ara avallable on the

Court's website at:

&: . orcourtmaricopa.qov/cominercial-courts,

Additlonal Plaintiff{s):

 

 

 

Additional Defendant(s}:

 

 

@ Superior Court of Arizona in Matlcopa County Page 3 of 3 GVIGf- 040419

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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 16 of 25

Timothy G. Tonkin, Esq. (4020709)
Montana Thompson, Esq. (#030567)
PHILLIPS LAW GROUP, P.C.

3101 N, Central Avenue, Suite 1500 APR 0 42013

Phoenix, Arizona 85012 S URT
Telephone: (602) 258-8900, ext. 258 p) CLERK OF ED 8
DEPUTY CLERK

 

Facsimile: (602) 900-0112
E-Mail: montanat(@phillipslaw.com
E-Mail: minute _entries@phillipslaw.com

 

Attorneys for Plaintiffs

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
IN AND FOR THE COUNTY OF MARICOPA

COREY LEASHORE, individually, CaseNo.: CV2019-093 020
Plaintiff, COMPLAINT
v. Tort-—- Motor Vehicle

USHIO AMERICA, INC, a  forsign
corporation; JOHN DOE DRIVER, an
individual; JOHN DOES 1-5; JANE DOES 1-
5: BLACK CORPORATIONS 1-5; and
WHITE PARTNERSHIPS 1-5,

 

Defendants.

Corey Leashore (hereinafter “Plaintiff”), for his Complaint, alleges:

1. - Plaintiff is and was at all times material herein, a resident of the County of

| Maricopa, State of Arizona.

2, Upon information and belief, Ushio America, Inc., is a foreign corporation that is
authorized to do business in Arizona or availed itselfto Arizona jurisdiction by allowing one of
its employees to operate a motor vehicle in Arizona.

3. Plaintiff is unaware of John Doe Driver’s residence at this time.

4, Defendants John and Jane Does 1-5, and Black Companies, White Partnerships

1-5 (hereinafter: “fictitious defendants”) are those persons and entities whose relationships to
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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 17 of 25

the named Defendants or whose acts or omissions give rise to legal responsibility for the
damages incurred by Plaintiff, but whose true identities are at present time unknown to
Plaintiff, These persons and entities hereby are notified of Plaintiff's intention to join them as
Defendants if and when additional investigation or discovery reveals the appropriateness of
such joinder,

5. Upon belief, all fictitious Defendants were residents of the County of Maricopa,
State of Arizona; and/or were organized and existing under the laws of Arizona and doing
business in the State of Arizona; and/or were foreign corporations, businesses, etc., qualified to
do business within the State of Arizona, and actually doing business therein on the date of the
accident alleged herein.

6, All acts and events alleged hereafter occurred within the County of Maricopa,
State of Arizona.

7. The minimum jurisdictional amount established for filing this action has been
satisfied. This Court has jurisdiction and venue is proper.

COUNT ONE: NEGLIGENCE

8. Plaintiff re-alleges and incorporates all paragraphs above as if fully. set forth,
herein.

9. On March 6, 2018, Plaintiff was traveling westbound on state route 101 near
milepost 26. At the same date and time, Defendant John Doe Driver was operating a Jeep
(possible California license plate number: 8BQK 148) headed the same direction as Plaintiff, in
the lane next to Plaintiff, Defendant John Doe Driver attempted to change into the lane
occupied by Plaintiff, without first ascertaining that the movement could be done safely,
Defendant’s lane change caused a crash with Plaintiff's vehicle, Defendant fled the scene

without speaking to Plaintiff, witnesses, or the police,

 

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10. Upon information and belief, Defendant John Doe Driver was in the course and
scope of his employment with Defendant Ushio America, Inc. at the time of the crash.

ll. Asaresult of Defendant's negligence, Plaintiff suffered injuries.

COUNT TWO: NEGLIGENCE PER SE

12, Plaintiff re-alleges and incorporates all paragraphs above as if fully set forth
herein.

13, ARS. § 28-729 is a statute enacted for the safety of others on the roadway.

14. Defendant John Doe Driver failed to first ascertain that a lane change could be
done safely in violation of A.R.S. § 28-729 and is negligent per se.

COUNT THREE: NEGLIGENT ENTRUSTMENT/HIRING/RETENTION

15. Plaintiff re-alleges and incorporates all paragraphs above as if fully set forth

herein.

16. At the time of the collision, Defendant John Doe Driver was acting as an agent,.

servant or employee within the scope of his employment on behalf of Defendant Ushio

America, Inc.

17. At the time of the collision, Defendant Ushio America, Inc., knew or should have,

known that Defendant John Doe Driver was an inexperienced, reckless, and negligent driver.
Defendant Ushio America, Inc. should not have hired Defendant John Doe Driver and/or
should not have retained him and/or should have provided proper training.

18. Defendant Ushio America, Inc, knew or should have known that allowing a

negligent, reckless and/or inexperienced driver increases the risk of harm to others on the

roadway.

19, Defendant Ushio America, Inc.’s negligent entrustment of its vehicle to

Defendant John Doe Driver ts a direct and proximate cause of damages alleged herein.

 

 

 

 

 
 

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COUNT FOUR: VICARIOUS LIABILITY
20. Plaintiff re-alleges and incorporates the foregoing paragraphs as if fully set

forth herein.

21, At all times material herein, Defendant John Doe Driver operated a motor

vehicle while acting as an agent, servant, or employee within the scope of his employment on

behalf of Defendant Ushio America, Inc,

22, At all times material herein, Defendant John Doe Driver operated the motor
vehicle immediately prior to the érash and said actions were on behalf of, or in furtherance of

the business of Defendant Ushio America, Inc.

23. At afl times material herein, Defendant John Doe Driver intended that his
conduct be perceived as and synonymous with Defendant Ushio America, Inc.

24, Defendant Ushio America, Inc. is vicariously liable to Plaintiff for all injuries
and other damages caused by Defendant John Doe Driver. —

COUNT FIVE: RESPONDEAT SUPERIOR

25, Plaintiff re-alleges and incorporates the foregoing paragraphs as if fully set forth
herein.

26. At all times relevant hereto, Defendant John Doe Driver was employed by, and
was an agent, servant and/or employee of Defendant Ushio America, Inc.

27, ‘The above described acts of Defendant John Doe Driver were committed within

the scope of his employment with Defendant Ushio America, Inc. in that they were committed

while on duty and in furtherance of his employment/employer Defendant Ushio America, Inc.

28. As Defendant John Doe Driver’s employer, Defendant Ushio America, Inc. is

responsible for all of the negligent acts committed by Defendant John Doe Driver within the

scope of his employment.

 

 

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DAMAGES

29. Plaintiff re-alleges and incorporates all paragraphs above as if fully set forth
herein.

30. As a direct and proximate result of the negligent, reckless, and careless conduct
of Defendants, Plaintiff suffered severe injuries which caused him pain, suffering, distress,
mental and emotional anguish and anxiety, and a general decrease in the quality and enj oyment
of life, alf in an amount to be proven at trial.

31. As a further direct and proximate result of the negligent, reckless, and careless
conduct of Defendants, Plaintiff has incurred expenses for medical care, and may incur
expenses for future medical care, all in an amount to be proven at trial. 7

32, As a further direct and proximate result of the negligent, reckless, and careless

conduct of Defendants, Plaintiff has incurred expenses for property damage and for driving to

doctor appointments, and is entitled to compensation for his damaged property and for mileage

driven to dactor appointments, all in an amount to be proven at trial. ,
33. Asa direct and proximate result of ihe negligent, reckless, and careless conduct
of Defendants, Plaintiff has or may have suffered lost earnings and may suffer future lost
earnings and/or diminished earning capacity, all in an amount to be proven at trial. .
WHEREFORE, Plaintiff prays for judgment ‘against Defendants, and each other
defendant named herein jointly and severally, as follows:

(a) For Plaintiff's general and special damages;

(b) For Plaintiffs expenses incurred for past medical care and treatment of

Plaintiff's injuries for future medical treatment expenses;
(c) For Plaintiff's expenses for property damage and for driving to doctor
appointments;

(d) For Plaintiff's past and future lost wages and loss of earning capacity,

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(e) For Plaintiff’s costs inourved herein;

(f) For interest at the highest legal rate on all damages and costs from the
time incurred on the date of such judgment, whichever is sooner, until
paid; and

(g) For such other and further relief as the Court deems just and proper.

STATEMENT OF TIER VALUE
Consistent with the factors and characteristics identified in the lawsuit above, this
matter is an automobile fort, and pursuant to Rule 26.2(b) of the Arizona Rules of Civil
Procedure, the damages sought in this case qualify it as a Tier 3 case.

DATED this 4th day of April, 2019.

PHILLIPS LAW GROUP, P.C.

a KAW

Timothy G. Tonkin, Esq.
Montana Thompson, Esq.
Attorneys for Plaintiff

 

 
 

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Timothy G. Tonkin, Esq. (4020709)
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E-Mail: montanat@phillipslaw.com

E-Mail: mimuate_entries@phillipslaw.com
Attorneys for Plaintiffs

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

IN AND FOR THE COUNTY OF MARICOPA

COREY LEASHORE, individually, Case Now

Plaintiff, CERTIFICATE OF COMPULSORY

y ARBITRATION

USHIO AMERICA, INC. a foreign
corporation, JOHN DOE DRIVER, an
individual; JOHN DOES 1-5; JANE DOES 1-
5; BLACK. CORPORATIONS 1-5; and
WHITE PARTNERSHIPS 1-5,

 

Defendants,

The undersigned certifies that he knows the dollar limits and any other limitations set
forth by the local rules of practice for the applicable superior court, and further certifies that

this case IS NOT subject to compulsory arbitration, as provided by Rules 72 through 76 of the

Arizona Rules of Ciyil Procedure.
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BY CLERK OF THE SUPERIOR Cd
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CV2019-005020

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Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 23 of 25

DATED this 4th day of April, 2019.

PHILLIPS LAW GROUP, P.C.

By: \ Nan. al

Timothy G. Tonkin, Esq.
Montana Thompson, Esq.
Atiorneys for Plaintiff

 

 
 

 

Case 2:19-cv-02912-SMB Document 1-3 Filed 05/07/19 Page 24 of 25

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Attorneys for Plaintiffs

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

IN AND FOR THE COUNTY OF MARICOPA
COREY LEASHORE, individually, Case No.:

Plaintiff, SUMMONS

¥. Tort — Motor Vehicle

USHIO AMERICA, INC, a foreign
corporation; JOHN DOE DRIVER, an if you would like legal advice from a lawyer,
individual; JOHN DOES 1-5; JANE DOES 1- contact the Lawyer Referral Service at
5: BLACK CORPORATIONS 1-5; and 602-257-4434

WHITE PARTNERSHIPS 1-5, oS or

"  wew.maricopalawyers.arg
Defendants, Sponsored by the

Maricopa County Bar Association

 

STATE OF ARIZONA TO THE DEFENDANTS: .
USHIO AMERICA, ENC,

YOU ARE HEREBY SUMMONED and required to appear and defend, within the
time applicable, in this action in this Court. If served within Arizona, you shall appear and
defend within twenty (20) days after the service of the Summons and Complaint upon you,
exclusive of the day of service, If served outside of the State of Arizona — whether by direct
service, or by publication — you shall appear and defend within thirty (30) days after the
service of the Summons and Complaint upon you is complete, exclusive of the day of service.
Service by publication is complete thirty (30) days after the date of first publication. Direct
service is complete when made. Service upon the Arizona Motor Vehicle Superintendent is
complete thirty (30) days after filing the Affidavit of Compliance and return receipt or
Officer’s Return, Where process is served upon the Arizona Director of Insurance as an
insurer’s attorney to receive service of legal process against it in this State, the msurer shall not
be required to appear, answer or otherwise plead until the expiration of forty (40) days after the
date of service upon the Director. A.R.S, §§ 20-222, 28-1027,

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YOU ARE HEREBY NOTIFIED that in case of your failure to appear and defend
within the time applicable, judgment by default may be rendered against you for the relief
demanded in the Complaint.

YOU ARE CAUTIONED that in order to appear and defend, you must file an answer
or other proper response in writing with the Clerk of the Court, accompanied by the necessary
filing fee, within the time required, and you are required to serve a copy of any answer or other
response upon the plaintiff's attorney.

The name and addtess of the plaintiff's attorney is:

Timothy G, Tonkin, Esq.
Montana Thompson, Esq. -
PHILLIPS LAW GROUP, P.C,
3101 N. Central Avenue, Suite 1500
Phoenix, Arizona 85012

ADA Notification
(Notification de Ja Ley sobre Estadounidenses con Discapacidades)

Requests for reasonable accommodations for persons with disabilities must be made to
the division assigned to the case by parties at least three (3) judicial days in advance of a
scheduled court proceeding.

Las partes deberan presenter a la corte las solicitudes para acomodar de manera
razonable a personas con discapacidades por lo menos tres (3) dias habiles antes de un
procedimiento judicial regular.

Interpreter Notification
(Notification de Interprete)

Requests for an interpreter for persons with limited English proficiency must be made to
the office of the judge or commissioner assigned to the case by parties at least ten (10) judicial
days in advance of a scheduled court proceeding. :

Las solicitudes de interprete para personas con dominio limitado del idioma ingles’

deben hacerse a la oficina del juez o comisionado asignado al caso por las partes por lo menoz
diez (10) judiciales antes de un procedimiento judicial regular,

SIGNER ND SEALED: APR 0.4 2079
= ey CARISROSE.
Clerk of the Superior Court

JEFF FINE, CLERIC

    

GS. Ramirez

 

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